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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                               x
                               :
In re                          :                                Chapter 11
                               :
Ezra Holdings Limited et al.,1 :                                Case No. 17 – 22405 (RDD)
                               :
                     Debtors.  :                                Jointly Administered
                               x

                       BRIDGE ORDER EXTENDING EXCLUSIVE PERIODS TO FILE
                          A CHAPTER 11 PLAN AND SOLICIT VOTES THEREON

             Upon the timely motion, dated October 25, 2017 (the “Motion”), of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”) for entry of an order, pursuant to

11 U.S.C. § 1121(d) of title 11 of the United States Code (the “Bankruptcy Code”), further

extending the Debtors’ exclusive periods in which to file a chapter 11 plan (the “Exclusive Filing

Period”) and solicit acceptances thereof (the “Exclusive Solicitation Period” and, together with

the Exclusive Filing Period, the “Exclusive Periods”), all as more fully described in the Motion;

and, in light of the December 19, 2017 hearing date on the Motion, the Debtors having also

requested entry of a bridge order granting an extension of the Exclusive Periods until such time

as the Court has entered an order determining the relief requested in the Motion; and the Court

having jurisdiction to consider the Motion and the relief requested therein in accordance with 28

U.S.C. §§ 157(a)-(b) and 1334(b) and the Amended Standing Order of Reference M-431, dated

January 31, 2012 (Preska, C.J.); and consideration of the Motion and the relief requested therein

being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this


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             The Debtors in these chapter 11 cases, along with the last five characters of each Debtor’s registration
             identification number, include: Ezra Holdings Ltd. (1411N); Ezra Marine Services Pte. Ltd. (7685G); and
             EMAS IT Solutions Pte. Ltd (5414W). The location of the Debtors’ U.S. office is 75 South Broadway,
             Fourth Floor, Office Number 489, White Plains, NY 10601.




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Court pursuant to 28 U.S.C. §§ 1408 and 1409; and, after due deliberation, the Court having

found and determined, consistent with Local Bankruptcy Rule 9006-2, that extension of the

Exclusive Periods pending the Court’s determination of the Motion is supported by sufficient

cause and is in the best interests of the Debtors, their estates, creditors, and parties-in-interest;

and no additional notice or hearing on the Debtors’ request for a bridge extension being required,

it is hereby

             ORDERED, that:

             1.        The Debtors’ Exclusive Periods are extended pursuant to 11 U.S.C. § 1121(d) and

Local Bankruptcy Rule 9006-2 until such time as the Court has entered an order determining the

relief requested in the Motion.

             2.        The relief granted herein is without prejudice to the rights of the Debtors to seek

further extensions of the Exclusive Periods pursuant to section 1121(d) of the Bankruptcy Code

and the right of any party in interest to seek to terminate such Periods.

             3.        This Court shall retain jurisdiction to hear and determine all matters arising from

or related to this Order.


Dated: October 27, 2017
       White Plains, New York
                                                     /s/ Robert D. Drain
                                                     Honorable Robert D. Drain
                                                     United States Bankruptcy Judge




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